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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

MARCELINO CENTENO,                       ) Case No. 17-CV-05233
                                         )
      Plaintiff,                         ) Hon. Sara L. Ellis
v.                                       ) Magistrate Judge: Maria Valdez
                                         )
LVNV FUNDING, LLC and RESURGENT          )
CAPITAL SERVICES, L.P.,                  )
                                         )
      Defendants.                        )


JEANETTE AKINS                           ) Case No. 17-CV-05693
                                         )
      Plaintiff,                         ) Hon. Matthew F. Kennelly
v.                                       ) Magistrate Judge: Jeffrey T. Gilbert
                                         )
LVNV FUNDING, LLC and RESURGENT          )
CAPITAL SERVICES, L.P.,                  )
                                         )
      Defendants.                        )


LAURA LEMKE,                             )   Case No. 17-CV-05897
                                         )
      Plaintiff,                         )   Hon. Robert M. Dow
v.                                       )   Magistrate Judge: Mary M.
                                         )   Rowland
LVNV FUNDING, LLC and RESURGENT          )
CAPITAL SERVICES, L.P.,                  )
                                         )
      Defendants.                        )


CORDELL JOHNSON,                         )   Case No. 17-CV-06098
                                         )
      Plaintiff,                         )   Hon. Virginia M. Kendall
v.                                       )   Magistrate Judge: Sheila M.
                                         )   Finnegan
LVNV FUNDING, LLC                        )
                                         )
      Defendant.                         )
                                         )

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    HALINA PLEWA                                       ) Case No. 17-CV-06676
                                                       )
             Plaintiff,                                ) Hon. Charles R. Norgle, Sr.
                                                       ) Magistrate Judge: Daniel G. Martin
    v.                                                 )
                                                       )
    LVNV FUNDING, LLC and RESURGENT                    )
    CAPITAL SERVICES, L.P.                             )
                                                       )
             Defendant.                                )

               MOTION TO COMPEL THE DEPOSITIONS OF
    PLAINTIFF HALINA PLEWA AND HER ATTORNEY, CELETHA CHATMAN

         Defendants, LVNV Funding, LLC (“LVNV”) and Resurgent Capital Services, L.P.

(“Resurgent”), by their attorneys, move to compel the depositions of Plaintiff Halina Plewa and

her attorney, Celetha Chatman, pursuant to Fed. R. Civ. Pro. 37, and state as follows:

                                        INTRODUCTION

         This case has been characterized by gamesmanship on the part of Plaintiffs and their

attorneys. First, there has been a pattern of obstructing discovery. For a period of two months,

Plaintiffs’ counsel would not cooperate in setting deposition dates. Centeno and Plewa) have

failed to appear at least once for a deposition, and Plewa has failed to appear twice. In addition,

Plaintiffs’ counsel Ms. Chatman has should have known before these cases that she was a

material fact witness, and she has certainly had actual knowledge of that fact since Defendants’

initial disclosures; nevertheless, she has refused to be deposed as to facts of which only she could

have personal knowledge.

                                              FACTS

         Defendants have been trying to secure the depositions of the plaintiffs since October,

2017. On December 1, 2017, after Plaintiffs repeatedly failed to provide dates, Defendants

served on Plaintiffs’ counsel notices of intent to take the depositions of four of the plaintiffs. As



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is evidenced by Exhibit 1, the notices provided for the following schedule:

               Halina Plewa - December 12, 2017, at 9:00 a.m
               Marcelino Centeno - December 12, 2017, at 1:00 p.m.
               Jeanette Akins - December 13, 2017, at 9:00 a.m.
               Cordell Johnson - December 13, 2017, at 1:00 p.m.

       As is evidenced by Exhibit 2, Ms. Chatman waited until December 11, 2017, when Mr.

Newburger was already on his way to Chicago (with non-refundable flights and no longer

cancelable hotel reservations) to send an email stating:

               Plewa is unable to be deposed the mourning of December 12th at 9:00 am, and
               Centeno is unable to be deposed the afternoon of December 12 at 1:00pm.
               Centeno is available to be deposed on December 13th at 1:00 pm. Also, Ms.
               Johnson is unavailable to be deposed on December 13, 2017 at 1:00 pm. Ms.
               Johnson is available to be deposed on December 12, 2017 at 10:00 am. Ms.
               Akins, is not available to be deposed on December 13, 2017 at 9:00 am. Ms.
               Akins is available to be deposed December 14. Lastly, Ms. Lemke, the last
               Plaintiff who you did not notice up for a deposition is available to be deposed on
               December 13th at 9:00 am, if you would like to do two depositions, on December
               13th. I will get back to you by the end of the week with Ms. Plewa’s availability.

       Reluctantly, but to salvage the expense of Mr. Newburger’s trip, Defendants agreed to

depose Plaintiffs Johnson, Centeno, and Lemke on December 12 and 13, 2017. However,

notwithstanding her agreement to present Mr. Centeno for deposition, on December 13, 2017, at

12:32 p.m., 28 minutes before the Centeno deposition was to start, Ms. Chatman sent an email

stating that he would not be appearing. See Exhibit 3. No explanation of Mr. Centeno’s alleged

emergency has ever been provided.

       As the Court knows from the hearing conducted on December 20, 2017, Ms. Chatman

did not provide a date for Ms. Plewa’s deposition, and it was necessary for the Court to order that

the deposition take place. The deposition was noticed to take place at 9:00 a.m. on January 25,

2018. Ms. Plewa and her attorneys wholly failed to appear. At 9:49 a.m. on January 25, Ms.

Chatman sent an email stating that Ms. Plewa would not be appearing. See Exhibit 4. No



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explanation was provided for Ms. Chatman’s failure to appear. Mr. Newburger will now have to

make a third trip to Chicago to depose Ms. Plewa. Even if Ms. Plewa actually was in the

hospital on January 25 (a claim that is presently unsubstantiated), there would have been no issue

had she not refused to appear in December tor a timely-noticed deposition.

       It took two trips to Chicago for Mr. Newburger to depose Mr. Centeno, because he first

tried to disregard a timely deposition notice and he then violated the agreement of his attorney to

appear in December. Mr. Newburger has now made two trips to Chicago, attempting to depose

Ms. Plewa, and Defendants still have not been able to take her deposition. Mr. Newburger also

traveled to Chicago to depose Ms. Chatman on January 25, 2018, but she has refused to appear

and be deposed and ignored both a notice of intent to depose her and a subpoena (which had to

be substitute served upon her because she evaded service).

       Ms. Chatman’s refusal to be deposed is without justification. She is the author of the

letters forming the basis of each Plaintiff’s claims. Four of the Plaintiffs have testified that they

had nothing to do with the drafting of the letters. The only person who can explain the wording

of the letters, why that wording has been misrepresented to the Court in each of the Plaintiffs’

complaints, and why she failed to use the unambiguous wording of similar letters that are the

subject of suits she has been prosecuting for as much as a year before the letters that she sent to

LVNV of behalf of the above-named Plaintiffs. She has known that she was designated as one

of Defendants’ witnesses since Defendants made their disclosures October 19, 2017, yet she

voiced no objections until Defendants sought to depose her.

       In addition to the discovery gamesmanship, there is the astounding testimony of Plaintiff

Jeanette Akins. In her deposition on January 24, 2018, Ms. Akins testified under oath that she

has no intention of going to trial. Her attorneys have been prosecuting a case for a plaintiff who



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does not actually intend to go to trial. Such conduct is a fraud on the Court, and it has caused

Defendants to incur the expense of deposing Ms. Akins.

       Defendants seek appropriate sanctions to remedy the harm caused by Ms. Plewa and Ms.

Chatman. At a minimum they seek the fees and costs that they will incur in having Mr.

Newburger return to Chicago to depose Ms. Chatman and Ms. Plewa. Defendants also ask that in

light of the misconduct of Plaintiffs’ counsel in obstructing discovery Plaintiffs be barred from

deposing Defendants.

                                           ARGUMENT

       1.      Legal Standard

       This Court should sanction Ms. Plewa and Ms. Chatman pursuant to Fed. R. Civ. Pro.

37(b) and (d) for failing to appear for her court-ordered deposition on January 25, 2018.

Sanctions under Rules 37(b) and (d) are appropriate where a party fails to attend her own

deposition for which she had proper notice. See Pendell v. City of Peoria, 799 F.3d 916, 917-18

(7th Cir. 2015) (finding Rule 37(d) permitted dismissal where the plaintiff twice failed to appear

for deposition despite plaintiff’s contention that a stroke caused her absence); Halas v. Consumer

Servs., 16 F.3d 161, 164-65 (7th Cir. 1994) (finding that Rules 37(b) or (d) permitted circuit

court’s dismissal of pro se plaintiff’s cause of action for failing to appear at his deposition – even

without a court order compelling the deposition).

       While Rule 37(b) and (d) provide this Court discretion to issue the sanctions listed under

Rule 37(b)(2)(A), or others, Rule 37(d)(3) requires this Court to order Ms. Plewa and Ms.

Chatman to pay for the reasonable expenses, including attorney’s fees, caused by his failure to

appear for a properly noticed deposition, unless substantially justified. See Simons v. Fox, No.

14 C 309, 2016 U.S. Dist. LEXIS 108913, *2 (N.D. Ill. 2016) (“The Rule specifically requires



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the party failing to act to ‘pay the reasonable expenses, including attorneys' fees, caused by the

failure.’”) (quoting Rule 37(d)(3)).

        Finally, this Court should consider the deterrent effect issuing sanctions will have on

future conduct by Plaintiffs who have collectively demonstrated gamesmanship throughout the

discovery process. See NHL v. Metro. Hockey Club, 427 U.S. 639, 643 (1976) (affirming

dismissal as an appropriate sanction under Rule 37 not only to penalize the plaintiff’s conduct,

“but to deter those who might be tempted to such conduct in the absence of such a deterrent.”);

Lancelot Investors Fund, L.P. v. TSM Holdings, Ltd., No. 07 C 4023, 2008 U.S. Dist. LEXIS

34471, *14-15 (N.D. Ill. 2008) (discussing the deterrence purpose of Rule 37). “At bottom, Rule

37's purpose is not merely to compensate the aggrieved party, but to discourage future

misconduct. Chapman v. General Board of Pension & Health Benefits of the United Methodist

Church, No. 09 C 3474, 2010 U.S. Dist. LEXIS 66618, *13-14 (N.D. Ill. 2010).

        On January 26, 2018, Ms. Chatman and Ms. Heggie conferred pursuant to Local Rule

37.2.   Ms. Chatman could not answer Defendants’ request that Plaintiffs pay for Mr.

Newberger’s fees and costs associated with travel to Chicago to depose Ms. Plewa. See Exhibit

5. Ms. Chatman also offered no fourth date for a deposition before the February 12, 2018

discovery close date. Ms. Chatman wanted to speak to Ms. Plewa, which she had not done.

Given the fact Ms. Plewa’s third failure to appear for deposition is on the eve of the discovery

close date, a date Defendants have no intention of compromising, Ms. Heggie advised Ms.

Chatman Defendants would file a motion.

                                        CONCLUSION

        WHEREFORE, Defendants, LVNV Funding, LLC and Resurgent Capital Services, L.P.,

respectfully request that their motion is granted, that Plaintiff Plewa and her attorney, Ms.



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Chatman, be court ordered to be deposed, that Ms. Plewa and Ms. Chatman be ordered to pay

Mr. Newburger’s reasonable fees and costs (including airfare and hotel costs) for having to

return to Chicago yet a third time to depose Ms. Plewa and a second time to depose Ms.

Chatman. Defendants further pray that they be awarded their reasonable fees and costs related to

the filing and presentation of this motion. Finally, Defendants pray that Plaintiffs be barred from

deposing Defendants.

                                                     Respectfully submitted,

                                                     /s/Corinne C. Heggie
                                                     Corinne C. Heggie
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                                                     Resurgent Capital Services, L.P.

                                                     /s/ Manuel H. Newburger
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                                                     and Resurgent Capital Services, L.P




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                               CERTIFICATE OF SERVICE

       I, the undersigned attorney, hereby certify that a true and correct copy of the foregoing

Motion to Compel the Depositions of Plaintiff Halina Plewa and Her Attorney, Celetha Chatman

has been served via email on the persons on the Service List below on this, the 26th day of

January, 2018.


                                                   /s/ Manuel H. Newburger
                                                   Manuel H. Newburger


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